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  Bandele Trust Dated 4/14/2016
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 States of America v. Real Property Located in Malibu, California Order on Motion to Stay Case
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 Docket Text:
 MINUTES(IN CHAMBERS)ORDER RE MOTION TO STAY [48] by Judge John A.
                                                                                          will
 Kronstadt. The Motion is DENIED.Because the present action is closed, no further filings
 be accepted by Huges.(iv)

 2:21-cv-04569-JAK-KS Notice has been electronically mailed to:
 Daniel G. Boyle caseview.ecf@usdoj.gov, usacac.criminal@usdoj.gov,
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